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                       UNITED STATES DISTRICT COURT

                             CENTRAL DISTRICT



                                        CASE NO.:
    James Shayler,                      2:20-cv-10051-MWF-PVC

    Plaintiff,                          The Honorable Michael W. Fitzgerald
                                        REPLY BRIEF IN SUPPORT OF
                     vs.
                                        DEFENDANTS’ MOTION FOR
    MMWH Group LLC and Wasim            SUMMARY JUDGMENT

    Hamad,                              Hearing Date: August 30, 2022
                                        Hearing Time: 10:00 AM
    Defendants,




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    Exhibit Z is a true and correct copy of Plaintiff’s deposition transcript taken
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    Exhibit AA is a true and correct copy of communication with opposing
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         REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR
                         SUMMARY JUDGMENT

         I. INTRODUCTION

         As of August 3, 2022, Plaintiff Shayler was unaware that the within case

   was being litigated. Plaintiff was of the opinion that he had no ongoing cases

   with the Hakimi and Shahriari Firm.

         Plaintiff alleges he visited the Business on December 16, 2019, August 17,

   2020, and September 14, 2020, respectively, (TAC 4:22-25), and that he was

   deterred from shopping at the Business because of the condition of the parking.

         Plaintiff had no recollection that this case is still active, and has no

   knowledge whether it is active or has been settled. He claims the last time he had

   spoken to the Hakimi & Shahriari Firm was 3-4 months ago. This counsel has not

   been able to depose Plaintiff for the within case, but was able to depose Plaintiff on

   another one of his several cases he has filed. On August 3, 2022, in said deposition

   for the ongoing case James Shayler v. Prairie Hospitality Group Inc. et al, this

   counsel questioned Plaintiff regarding his knowledge on the status of the within

   case (See Exhibit Z for Plaintiff’s Deposition Transcript re. Shayler v. Prairie):

         20 Q.· · Have you ever employed any other attorneys
         21· ·other than the Manning firm?
         22· · · · A.· · Yes.
         23· · · · Q.· · Name them.
         24· · · · A.· · I'm not sure of their names.· I'm not sure of


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        25· ·the name on the law firm. (35; 20-25).
   __________
        Q.· · Does the name Hakimi refresh your memory?
        ·2· · · · A.· · Yeah.· Yeah.· I believe that was -- that's
        ·3· ·them.
        ·4· · · · Q.· · Any others?
        ·5· · · · A.· · Not that I'm aware of, no.
        ·6· · · · Q.· · Do you currently have a case or more than one
        ·7· ·case with the Hakimi firm?· That's Hakimi & Shahriari?
        ·8· · · · A.· · I don't believe so.
        ·9· · · · Q.· · When was the last time you communicated with
        10· ·them?
        11· · · · A.· · Maybe three or four months ago.
        12· · · · Q.· · You don't have to tell me the substance of the
        13· ·communication but was it in reference to a case?
        14· · · · A.· · Yes, it was.
        15· · · · Q.· · Is that case terminated? (36; 1-15).
   __________
        Q.· · BY MR. SAHELIAN:· Mr. Shayler, insofar as you
        14· ·know, are all the cases that you might have had with any
        15· ·attorney other than the Manning firm closed, terminated,
        16· ·done with, call it what you want?
        17· · · · MR. HASHEMI:· Objection, compound, vague, and calls
        18· ·for speculation.
        19· · · · · · · Go ahead, Mr. Shayler.
        20· · · · THE WITNESS:· I believe so, yes.
        21· · · · Q.· · BY MR. SAHELIAN:· And what makes you think
        22· ·that?
        23· · · · MR. HASHEMI:· Same objections.
        24· · · · THE WITNESS:· Because they -- because they told me. (37;
        13-24).

         In spite of Plaintiff’s apparent belief that this matter is resolved and his

   testimony that he has not communicated with his counsel on this matter in months,

   the Hakimi and Shahriari Firm offered Plaintiff’s availability to be deposed in less



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   than 48 hours. Plaintiff’s counsel had consistently obstructed Defendants from

   deposing Plaintiff for several months.

           On July 27, 2022 at 3:23PM, Plaintiff’s counsel seemingly had a change in

   cooperation and offered Plaintiff’s availability for deposition on July 29, 2022 at

   9AM. (See Exhibit AA for a true and correct copy of an email chain depicting said

   offer of Plaintiff’s availability for deposition). Given the less than 48 hour notice,

   this counsel was not available at the time proposed by Plaintiff’s counsel and

   politely declined that offer. Defendants had already scheduled to take Plaintiff’s

   deposition in a different case, Shayler v. Prairie, a few days later on August 3,

   2022.

           It is indeed suspicious that Plaintiff’s counsel intended to schedule a

   deposition on such short notice despite Plaintiff’s testimony that he had not spoken

   with the Hakimi & Shahriari Firm in months.

           II. ARGUMENT

           A. Plaintiff Shayler has no Standing, in that he has no plans to return to

   Balcom’s Market

           Plaintiff’s Declaration to the Opposition in the MSJ states he plans to return.

   Plaintiff’s deposition testimony states otherwise. Plaintiff states in his declaration

   to the within motion, “I intend and plan to visit the Property again once the



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   existing barriers to access are removed (i.e., once the existing ADA violations are

   remediated). The Property is conveniently located near a hospital where I receive

   medical treatment and I like to stop there to purchase snacks/drinks before driving

   home.” Shayler Dec., Dkt 95-4, ¶9.

         This counsel asked Plaintiff during his deposition whether he recalls having

   sued a market near Beverly Hospital in Montebello. The inquiry concerned the

   within lawsuit:

         “· · Q.· · Can you tell me what the status is on that
         ·2· ·case?
         ·3· · · · A.· · I couldn't tell you.· I -- I couldn't tell you
         ·4· ·the status.· I believe they settled, I'm not sure.· I --
         ·5· ·I'm not sure.
         ·6· · · · Q.· · Can you describe the parking area of that
         ·7· ·market for me?
         A.· · I could not.· I could not.
         ·9· · · · Q.· · When was the last time you were there?
         10· · · · A.· · I'm just not sure what last time I was there.
         11· ·Been recent.· Couple years.
         12· · · · Q.· · Do you have any reason to go back there?
         13· · · · A.· · Not unless I go to the wound care center, no.
         14· · · · Q.· · Is there any reason for you to go back to the
         15· ·wound center?
         16· · · · A.· · Yes.
         17· · · · Q.· · Do you have an appointment?
         18· · · · A.· · No.
         19· · · · Q.· · When do you plan to go back there?
         20· · · · A.· · I'm not.
         21· · · · Q.· · As we sit here, you have no plans to go back
         22· ·to the wound center; is that correct?
         23· · · · A.· · That's correct.
         24· · · · Q.· · And as we sit here, you have no reason to go


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        25· ·back to the Beverly Hospital; is that correct? (52; 1-25)
   __________
        A.· · That -- I'm not sure.· If I -- if there's any
        ·2· ·reason for me to go back to the Beverly Hospital, I'm not
        ·3· ·sure.
        ·4· · · · Q.· · Do you know of any reason at this point for
        ·5· ·you to have to go back to the Beverly Hospital in
        ·6· ·Montebello?
        ·7· · · · A.· · No. (53; 1-7)

         Defendants would be remiss if they did not bring to the Court’s attention the

   discrepancy in Plaintiff’s testimony at his deposition and 2 days later in his

   declaration. On August 3, 2022, Plaintiff testified that he had no reason to return to

   the Beverly Hospital (that the last time he had visited the hospital was about 2

   years ago). Yet in a declaration, which appears to have been prepared by his

   attorneys, states the opposite, suggesting that he continues to be treated at the

   Beverly Hospital:

         “I intend and plan to visit the Property again …. The Property is

   conveniently located near a hospital where I receive medical treatment….” Shayler

   Dec., Dkt 95-4, ¶9. (emphasis added)

         Both statements made under oath cannot be true at the same time. Clearly,

   Plaintiff is not currently receiving treatment at the Beverly Hospital and has no

   future plans to visit the hospital. He cannot be asking for an injunction when he

   lacks plans to return to Beverly Hospital and therefore Balcom’s Market. As a



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   result, Plaintiff lacks standing to maintain this suit.

         As an aside, Plaintiff’s signature on his declaration appears to be a facsimile

   of possibly another signature from a past declaration. The signature page submitted

   bears no resemblance to the blank signature page that precedes it in his declaration.

   Counsel for Plaintiff could perhaps explain the discrepancy, and more importantly

   explain Plaintiff’s conflicting testimony made under oath.

         B. Plaintiff Shayler has offered no facts showing that the proximate

   cause for Plaintiff’s alleged denial of access was the condition of the parking

   lot, on the dates of his visit.

         1. The access aisle and the adjoining accessible route (SUF 4)

          Plaintiff alleges he has suffered difficulty and discomfort because the access

   aisle allegedly did not adjoin an accessible route on the dates of his visits. But,

   Plaintiff has offered no evidence showing that the parking lot, in the condition that

   it was in on the dates of his visit, violated the 1991 ADA Accessibility Guidelines.

   Moreover, Plaintiff offers no evidence that the proximate cause of his difficulty or

   discomfort was that the access aisle did not allegedly adjoin the accessible route.

   Plaintiff simply makes a conclusory remark and then claims he “experienced

   difficulty, humiliation, and frustration.” Shayler Dec ¶12.

         2. The accessible route to the entrance (SUF 5)



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          Plaintiff alleges he has suffered difficulty and discomfort because of the

   alleged uneven surfaces along the accessible route to the entrance on the dates of

   his visits. Even if there were irregularities present anywhere on the path of travel,

   Plaintiff has not offered evidence as to the proximate cause of his difficulty and

   discomfort. Plaintiff provides vague language that he “experienced difficulty,

   humiliation, and frustration.” Shayler Dec ¶12.

         None of Plaintiff’s physicians seem to have recommended that Plaintiff

   avoid walking where the ground has ½ inch variations in height. None of

   Plaintiff’s physicians has recommended that he avoid any surface that has a ½ inch

   variation in height. Plaintiff was queried at his deposition relative to the large

   number of medical reports he had offered previously. For instance, he was

   questioned with respect to Exhibits Z1 and Z2 cited in the Shayler v. Prairie

   deposition, medical reports drafted by physician, Dr. Charles Ananian,

        “Q.· · Did he tell you to avoid walking without a
        16· ·walker?
        17· · · · A.· · No, he did not say to avoid walking without a
        18· ·walker.· I just -- he gave me some limitations and said
        19· ·that I was going to have to be careful not to lift
        20· ·anything too heavy I believe he said and stuff like that.” (40; 15-20)
   __________
        “15· · · · Q.· · BY MR. SAHELIAN:· All right.· Do you remember
        16· ·Dr. Ananian telling you to limit your walking without
        17· ·cane or a walker?
        18· · · · A.· · No.” (Exhibit Z, 41; 15-18)



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         Moreover, during the deposition, this counsel questioned Plaintiff with

   respect to Exhibit Z5 cited in the Shayler v. Prairie deposition, a medical report of

   Plaintiff’s physical conditions drafted by a Dr. McCloy.

        “Q.· · All right.· And did he tell you what to do or
        25· ·not to do as a result of this visit? (Exhibit Z, 44; 23-25).
   __________
        A.· · To always wear slippers and don't walk around
        ·2· ·barefooted.
        ·3· · · · Q.· · Did you tell him you were using a walker or a
        ·4· ·cane?
        ·5· · · · A.· · I believe so.
        ·6· · · · Q.· · Did you walk into his office with a walker or
        ·7· ·a cane?
        ·8· · · · A.· · I believe so.
        ·9· · · · Q.· · Which?
        10· · · · A.· · One of the two.· I don't remember on this
        11· ·visit which I used.· I think I used a walker.
        12· · · · Q.· · Did you tell him that you're unable to walk on
        13· ·rough terrain?
        14· · · · A.· · Yes.
        15· · · · Q.· · Did you tell him you were unable to walk on
        16· ·slopes?
        17· · · · A.· · He told me to try to avoid slopes.
        18· · · · Q.· · Did he tell you to try and avoid rough
        19· ·terrain?
        20· · · · A.· · Yes.” (Exhibit Z, 45; 1-20).

         Dr. Thomas McCloy’s medical report, marked Exhibit Z5 in the deposition

   report, makes no such recommendations.

         Plaintiff verified that he had been spotted in public walking without the use

   of a cane or walker and taking photographs and slope measurements:



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         “2· · · · · · · (Exhibit 18 was referenced.)
         ·3· · · · Q.· · BY MR. SAHELIAN:· Mr. Shayler, this is also a
         ·4· ·photograph of you next to your Volkswagen; correct?
         ·5· · · · A.· · Uh-huh.
         ·6· · · · Q.· · Is that a yes?
         ·7· · · · A.· · Yes.
         ·8· · · · Q.· · All right.· And you're leaning over with the
         ·9· ·level gauge in your left hand, I'm guessing to take a
         10· ·slope measurement; correct?
         11· · · · A.· · Yes.
         12· · · · Q.· · Okay.· And can you tell -- perhaps Audrey can
         13· ·magnify the photograph -- next to your feet, can you tell
         14· ·there's cracking on the asphalt?
         15· · · · A.· · Yes, there is.
         16· · · · MR. SAHELIAN:· All right.· Okay.· We're going to
         17· ·mark this as Exhibit 18.
         18· · · · Q.· · And that's you again bent all the way and
         19· ·taking a slope measurement; correct?
         20· · · · A.· · Uh-huh.
         21· · · · Q.· · Is that a yes?
         22· · · · A.· · Yes.” (Exhibit Z, 73; 1-22)

         Plaintiff has not offered any evidence showing that the parking lot, in the

   condition that it was in on the dates of his visits, violated the 1991 ADA

   Accessibility Guidelines. Moreover, Plaintiff offers no evidence that the proximate

   cause of his difficulty and discomfort was the alleged uneven surfaces along the

   path of travel. Plaintiff simply makes a conclusory remark and claims he

   “experienced difficulty, humiliation, and frustration.” Shayler Dec ¶12.

         3. The striping (SUF 6)

          Plaintiff alleges he has suffered difficulty and discomfort because of the



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   faded paint on the accessible parking area on the dates of his visits.

         It is noteworthy that Plaintiff is completely silent in his most recent

   declaration as to how he was affected by the alleged faded lines, and how that

   caused him difficulty and discomfort. Moreover, Plaintiff offers no evidence that

   the proximate cause of his difficulty and discomfort was the faded paint at the

   accessible parking area. Plaintiff simply makes a conclusory remark and claims he

   “experienced difficulty, humiliation, and frustration.” Shayler Dec ¶12.

         4. The cross-slopes (SUF 7, 8)

          Plaintiff alleges he has suffered difficulty and discomfort because of the

   cross-slopes of the accessible parking area on the dates of his visits.

         Plaintiff is completely silent as to how he was affected by the cross-slopes of

   the accessible parking area, and how that caused him difficulty and discomfort.

   Moreover, Plaintiff offers no evidence that the proximate cause of his difficulty and

   discomfort was the cross-slopes at the accessible parking area. Plaintiff simply

   makes a conclusory remark and claims he “experienced difficulty, humiliation, and

   frustration.” Shayler Dec ¶12.

         5. The ISA sign (SUF 9)

          Plaintiff alleges he has suffered difficulty and discomfort because of the

   lack of International Symbol of Accessibility sign at the entrance. The lack of a



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   designated ISA sign does not appear to have harmed Plaintiff as he openly

   admitted to being aware that there was just one entrance into Balcom’s Market:

         “18· · · · Q.· · Can you tell me how many entrances the market
         19· ·had?
         20· · · · A.· · Yes.
         21· · · · Q.· · How many?
         22· · · · A.· · One en -- one entrance. (Exhibit Z; 54; 18-22).

         Plaintiff is silent as to how he was affected by the lack of an ISA sign, and

   how that caused him difficulty and discomfort. Moreover, Plaintiff offers no

   evidence that the proximate cause of his difficulty and discomfort was the ISA

   sign. Plaintiff simply makes a conclusory remark and claims he “experienced

   difficulty, humiliation, and frustration.” Shayler Dec ¶12.

         6. Graffiti on the ‘No Parking’ sign (SUF 10)

          Plaintiff alleges he has suffered difficulty and discomfort because of the

   graffiti on the designated disabled parking space sign on the dates of his visits.

         Plaintiff is silent as to how he was affected by the graffiti on the designated

   disabled parking sign, and how that caused him difficulty and discomfort.

   Moreover, Plaintiff offers no evidence that the proximate cause of his difficulty and

   discomfort was the graffiti on the designated disabled parking sign at the accessible

   parking area. Plaintiff simply makes a conclusory remark and claims he

   “experienced difficulty, humiliation, and frustration.” Shayler Dec ¶12.



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         7. The walking surface (SUF 11)

          Plaintiff alleges he has suffered difficulty and discomfort because of the

   walking surface on the accessible parking area and accessible route. Plaintiff is

   silent as to how he was affected by the walking surface at the parking lot, and how

   that caused him difficulty and discomfort. Moreover, Plaintiff offers no evidence

   that the proximate cause of his difficulty and discomfort was the walking surface at

   the parking lot. Plaintiff simply makes a conclusory remark and claims he

   “experienced difficulty, humiliation, and frustration.” Shayler Dec ¶12.

         8. The floor mat (SUF 12)

          Plaintiff alleges he has suffered difficulty and discomfort because of the

   floor mat at the entrance of Balcom’s Market. Plaintiff is silent as to how he was

   affected by the floor mats at the entrance of the business, and how that caused him

   difficulty and discomfort. Moreover, he offers no evidence that the proximate cause

   of his difficulty and discomfort was the floor mats at the entrance of the business.

   Plaintiff simply makes a conclusory remark and claims he “experienced difficulty,

   humiliation, and frustration.” Shayler Dec ¶12.

         The presence of a floor mat at the entrance of Balcom’s Market also presents

   no issue to Plaintiff, given his testimony of having several floor mats, carpets, and

   rugs inside his place of residence:



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         “Q.· · Describe for me if you would what sort of
         15· ·floor covering you have throughout the house, starting
         16· ·with the bedrooms to the bathrooms and kitchen.
         17· · · · A.· · My whole floor's a wooden floor or vinyl
         18· ·floor.· There is a couple places where there's carpet,
         19· ·rugs.· But it's all wooden floor.
         20· · · · Q.· · And when you say there's carpet rugs, where
         21· ·are these carpet rugs located?
         22· · · · A.· · In the living room and in the bedroom.
         23· · · · Q.· · Describe the rugs in the bedroom.
         24· · · · A.· · Just a -- an Oriental rug, probably six-by-
         25· ·nine, and it's on the end of my bed.” (Exhibit Z, 19:14-25).

         Here, Plaintiff provides no evidence that said floor mats are unstable or

   loose or that they provide a tripping hazard. Plaintiff has also failed to provide facts

   showing he was denied access. (See SUF 12) The Court must therefore grant

   Defendants’ motion for summary judgment on this issue.

         V. CONCLUSION

         For all the foregoing reasons Defendants respectfully request that the Court

   grant the within Motion for Summary Judgment on the ADA cause of action.

         \\

         Date: August 15, 2022

                                                            SAHELIAN LAW OFFICES



                                                     _____________________________
                                                                   Ara Sahelian, Esq.



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